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                SPECIAL MASTER’S RECOMMENDED CONSTRUCTIONS
                    PATENT NO.’S 8,215,418, 8,020,635 and 8,881,833

PERSON OF ORDINARY SKILL IN THE ART (POSITA)

A person of ordinary skill in the relevant art would typically minimally include a person having a bachelor’s or
master’s degree in petroleum, mechanical, or chemical engineering, with at least two to four years of experience
designing and/or operating downhole tools with cutting elements or stabilizers.


 Term/Phrase (claims)                                 Special Master’s Recommendations


 “[an] actuation member”                              A movable mechanism including, a movable sleeve,
 (‘635 Patent, claim 1)                               linkage or pistons.

 Other claims:
 ’418 Patent - claims 3, 6, 7, 10, 11, 15, 18
 ’635 Patent - claims 2, 6, 11–15, 19

 “a pattern of peaks and valleys”                     A series of alternating upwardly sloping and downwardly
 (‘635 Patent, claim 3)                               sloping curved paths.

 Other claims
 ’418 Patent–claim 12

 “move axially responsive”                            Move along the axis defined by the tubular body.
 (‘833 Patent, claim 14)


 “configured to move axially responsive               Configured to move along the axis defined by the tubular
 to a flow of drilling fluid through the fluid        body responsive to a flow of drilling fluid through the
 passageway to extend and retract the one or more     fluid passageway to extend and retract the one or more
 expandable features”                                 expandable features.
 (‘833 Patent, claim 14)


 “traversing at least one pin along a                 Plain and ordinary meaning.
 circumferentially extending groove”
 (‘635 Patent, claim 15)
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“selectively and repeatably positionable”   Selectively and repeatably positionable while the tool is in
(‘635 Patent, claim 1)                      the borehole.

Other claims:
’635 Patent–claim 19
’418 Patent–claim 10

“selectively and repeatably moving”         Plain and ordinary meaning.
(‘635 Patent, claim 11)

Other claims:
’635 Patent–claims 12-13, 15
’418 Patent–claim 3, 6

“first position”                            Plain and ordinary meaning.
(‘635 Patent, claim 1)

Other claims:
’635 Patent - claims 4, 5, 11–15, 19
’418 Patent - claims 3, 7, 10, 13, 14, 18

“second position”                           Plain and ordinary meaning.
(‘635 Patent, claim 1)

Other claims:
’635 Patent–claims 4, 5, 11–15, 19
’418 Patent–claims 3, 7, 10, 13, 14, 18

“third position”                            Plain and ordinary meaning.
(‘635 Patent, claim 2)

Other claims
’635 Patent–claims 2, 4, 5, 14
’418 Patent–claims 7, 11, 13, 14

“substantially identical”                   Plain and ordinary meaning.
/“substantially the same”
(‘635 Patent, claims 1, 11)

Other claims:
’635 Patent–claims 7, 8
’418 Patent–claims 18-20




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“increasing a flow rate of drilling fluid through Increasing the flow of drilling fluid against the moveable
the expandable reamer to cause at least one blade blades such that the blade moves from a retracted position
of the expandable reamer to move from a           to an expanded position.
retracted position to an expanded position”
(‘418 Patent, claim 1)




“lower surface disposed in a lower annular         Plain and ordinary meaning consistent with, for example,
chamber between the push sleeve and the tubular    annotated Figure 3 illustrating a lower annular chamber
body”                                              345 (in red), push sleeve 305 (in green), and the tubular
(‘833 Patent, claim 14)
                                                   body 105 (in purple)*




                                                   *The figure should be amended to identify the body 105
                                                   directly on the figure.


“valve sleeve                                      Plain and ordinary meaning.
(‘833 Patent, claim 15)

Other claims:
’833 Patent–claim 16




                                                    3
